
PER CURIAM.
We review American Mutual Insurance Co. v. Decker, 518 So.2d 315 (Fla. 2d DCA 1987), to resolve certified direct conflict with American Motorists Insurance Co. v. Coll, 479 So.2d 156 (Fla. 3d DCA 1985), review denied, 488 So.2d 829 (Fla.1986). Art. V, § 3(b)(4), Fla. Const. We recently disapproved American Motorists Insurance Co. and resolved the issue contrary to petitioners’ position in Liberty Mutual Insurance Co. v. Chambers, 526 So.2d 66 (Fla.1988). We approve the decision below.
It is so ordered.
EHRLICH, C.J., and OVERTON, McDonald, shaw, barkett, GRIMES and KOGAN, JJ., concur.
